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                                                               IN THE <:;IRCUIT COURT OF THE unt
                                                               CIRCUIT COURT IN AND FOR MIAMI·
                                                               DADE COUNTY
                                                                . .NO.. '2CJ\lf
                                                               CASE        ..               . 2.L)'.il
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          CLAUDIA M. ACUNA,

                 Plaintiff,
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                                                                                         TCvIE. _ _ 0      r~
          vs.
          CITY OF MIAMI BEACH                                      ~L~   Qv              ro.#.-~~i .
                 Defendant.


                                           SUMMONS IN A CIVIL CASE

          TO: CITY OF MIAl\1:1 .BEACH, tlu·ough its Mayor:

                                         DAi"'l GELB'ER
                                         1700 C01\"'VENT10N CENTER DR.
                                         MlAMi BEAC.B, FL 33139

           YOU AR.EHEREBY SUMMONED and required to serve upon PLAINTIFF'S ATTORNEY

                                          ANTHONY GEORGES-PIERRE, ESQ.
                                          REMER &GEORGES-PIERRE, PLLC.
                                          44 WEST FLAGtER STREET
                                          SUITE2200
                                          MIAMI, FL 33130

           an answer tp the c01rtplaint which is herewith served upon you, within 20 days after serifice of this
           summons upon you,, ex.elusive ofth~ <lay of service. tf you fail.to .do so, judgment by default will
           be t.aken agamst you for the relief demanded in the complaint. You must' also file yout answer
           with the Clerk of this Courtwithinareasonabk period of time after service.
                 Harvey Ruvin,
                                                                           8/31 /20'18
                 Clerk of Court$

                                                                 DATE




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                                                         IN THE CIRCUIT COURT OF THE 1lTH
                                                         JUDICIAL CIRCUIT IN AND FOR
                                                         MIAMI DADE COUNTY, FLORIDA

  CLAUDIA M. ACUNA,                                      CASE NO.:    20\ ~ -Q292.V2.\           cJA (){__
           Plaintiff;

   vs.

   CITY OF MIAMI BEACH

           Defendant.


                                              COMPLAINT

            COMES NOW, Plaintiff CLAUDIA M. ACUNA (hereinafter "Plaintiff'), by and

   through the undersigned counsel, hereby sues Defendants, CITY OF MIAMI BEACH

   (hereinafter "Defendant"), and in support avers as follows:

                                      GENERAL ALLEGATIONS

         1. This is an action by the Plaintiff for damages exceeding $15,000 excluding attorneys'

   fees or costs pursuant to the Florida Civil Rights Act of 1992 (FCRA), Florida Statute Section

    760 and the Family and Medical Leave Act; to redress injuries resulting from Defendant's

    unlawful, age and disability-based discriminatory treatment of and retaliation against Plaintiff as

    well as interference with Plaintiff's rights and retaliation under FMLA.

         2. The jurisdiction of the Court over this controversy is based upon 29 U.S.C. §216(b).

         3. Plaintiff was at all times relevant to this action, and continues to be, a resident in Miami

    Dade County Florida, within the jurisdiction of this Honorable Court

         4. Plaintiff was an employee of Defendant, employed as a Planner in Miami Dade County,

    Florida.
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     5. Defendant was a "person" and/or an "employer" pursuant to the Florida Civil Rights Act

  of 1992, Fla. Stat. Section 760.01, et seq., since it employs fifteen or more employees for the

  applicable statutory period; and it is subject to the employment discrimination provisions of the

  applicable statute, the FCRA.

      6. At all times material hereto, Plaintiff was an "employee" within the meaning of the

  Florida Civil Rights Act of 1992, Fla Stat. Section 760, et seq.

      7. On or about April 20, 2017, Plaintiff filed a timely charge of employment discrimination

   with the Equal Employment Opportunity Commission, the agency which is responsible for

   investigating claims of employment discrimination.

      8. Defendant, CITY OF MIAMI BEACH, having its main place of business in Miami Dade

   County, Florida, where Plaintiffs worked for Defendant and at all times material hereto was and

   is engaged in interstate commerce.

      9. Venue is proper in Mian1i Dade becai.1se all of the actions that form the basis of this

   Complaint occurred within Miami Dade County and payment was due in Miami Dade County.

       10. Declaratory, injunctive, legal and equitable relief sought pursuant to the laws set forth

   above together with attorneys' fees, costs and damages.

       11. All conditions precedent for the filing of this action before this Court has been previously

   met, including the exhaustion of all pertinent administrative procedures and remedies.


                     FACTUAL AI,LEGATIONS COMMON TO ALL COUNTS

       12. Plaintiff performed work for Defendant from on or about January 12, 2015 to on or about

    March 3, 2017 as a Planner.

       13. Plaintiff is over the age of 40 and within a protected class under the FCRA.
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      14. Plaintiff was discriminated against because of her age and her mother's medical

  condition (Alzheimer's).

      15. All of the Planners, besides Plaintiff, were under the age of 35. Because of this, Plaintiff

   would experience disparate treatment from the Principal Planner Steven M. Williams.

      16. The guidelines that were set for Plaintiff were different than the other Planners. For

   example, other Planners were not bothered when they had a doctor's appointment or had other

   appointments to keep.

       17. On or about September 2016, Plaintiff was denied FMLA when she had to take care of

   her mother. She was told by Defendant that everyone had their own problems and that they

   were short staffed.

       18. On or about February 16, 2017, Plaintiff approached Human Resources with her

   concerns for advancement within the company. Other employees were getting promoted, but

   Plaintiff was not provided equal opportunity.

                                                                                        .
       19. Plaintiff was not given the opporttmity to assist with the new signage ordinance or attend

    the Planning Board meetings, or was asked to attend conferences.

       20. Plaintiff, however, was told to cover the counter while others attended meetings or

    conferences that provided them room to grow and leading to promotions.

       21. Plaintiff was continuously spoken disrespectfully by Principal Planner Steven M.

    Williams and Deputy Director Carmen Sanchez. When Plaintiff suggested weekly training

    sessions, she was belittled and told that she would be the only one needing the training.

        22. Throughout employment, Deputy Director Carmen Sanchez would harass Plaintiff and

    on two occasions would not allow her to leave work until she finished her reviews. Plaintiff

    would work from 7am to 8pm. and would not get paid overtime for these hours.
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      23. Plaintiff was able to get FMLA after her father passed and she had to take care of her

  mother with Alzheimer's.

      24. On or about March 3, 2017, Plaintiff was terminated by Human Resources Director

   Michael Smith, Planning Director Thomas Mooney and Deputy Director Carmen Sanchez, who

   were not Plaintiff's direct supervisors. Plaintiff was under FMLA at the time.

       25. Plaintiff was told that her termination was due to problems with supervision, her reviews

   and concerns with others. Previously, Planning Director Thomas Mooney had signed an

   evaluation where Plaintiff received a high score of 90%.

       26. Any reason proffered by the Defendant for the adverse employment actions is mere

   pretext for unlawful discrimination and retaliation.

       27. Plaintiff has retained the undersigned counsel in order that his rights and interests may be

   protected.

                                                  COUNT I
                                 Age Discrimination in Violation of the FCRA

       28. Plaintiff re-adopts each and every factual allegation as stated in paragraphs 1-27 above as

    if set out in full herein.

        29. Plaintiff is a member of a protected class under the FCRA.

        30. By the conduct describe above, Defendant has engaged in discrimination against Plaintiff

    because of Plaintiffs age and subjected the Plaintiff to age-based animosity.

        31. Such discrimination was based upon the Plaintiffs age in that Plaintiff would not have

    been the object of discrimination but for the fact that Plaintiff is over 40.

        32. Defendanfs conduct complained of herein was willful and in disregard of Plaintiff's

    protected rights. Defendant and its supervisory personnel were aware that discrimination on the

    basis of Plaintiffs disability was unlawful but acted in reckless disregard of the law.
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      33. At all times material hereto, the employees exhibiting discriminatory conduct towards

   Plaintiff possessed the authority to affect the tenus, conditions, and privileges of Plaintiffs

   employment with the Defendant.

      34. Defendant retained all employees who exhibited discriminatory conduct toward the

   Plaintiff and did so despite the knowledge of said employees engaging in discriminatory actions.

       35. As a result of Defendant's actions, as alleged herein, Plaintiff has been deprived of rights,

   has been exposed to ridicule and embarrassment, and has suffered emotional distress and

   damage.

       36. The conduct of Defendant, by and through the conduct of its agents, employees, and/or

   representatives, and the Defendant's failure to make prompt remedial action to prevent continued

   discrimination against the Plaintiff, deprived the Plaintiff of statutory rights under state and/or

   federal law.

       37. The actions of the Defendant and/or its agents were willful, wanton, and intentional, and

    with malice or reckless indifference to the Plaintiff's statutorily protected rights, thus entitling

    Plaintiff to damages in the form of compensatory and punitive damages pursuant to state and/or

    federal law, to punish the Defendant for its actions and to deter it, and others, from such action in

    the future.

        38. Plaintiff has suffered and will continue to suffer both irreparable injury and compensable

    damages as a result of Defendant's discriminatory practices unless and until this Honorable

    Court grants relief.

    WHEREFORE,
       -
               Plaintiff respectfully prays for the following relief against Defendant:
                                                                -


             A. Adjudge and decree that Defendant has violated the FCRA, and has done so willfully,

                  intentionally, and with reckless disregard for Plaintiffs rights;
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         B. Enter a judgment requiring that Defendant pay Plaintiff appropriate back pay,

              benefits' adjustment, and prejudgment interest at amounts to be proved at trial for the

              unlawful employment practices described herein;

          C. Enter an award against Defendant and award Plaintiff compensatory damages for

              mental anguish, personal suffering, and loss of enjoyment of lifo;

          D. Require Defendant to reinstate Plaintiff to the position    at the rate of pay and with the

              full benefits Plaintiff would have had Plaintiff not been discriminated against by

              Defendant, or in lieu of reinstatement, award front pay;

          E. Award Plaintiff the costs of this action, together with a reasonable attorneys' fees;

               and

           F. Grant Plaintiff such additional relief as the Court deems just and proper under the

               circumstances.

                                          COUNT II
                            Disability Discrimination in Violation of tlze FCRA

       39. Plaintiff re-adopts each and every factual allegation as stated in paragraphs 1-27 above as

   if set out in full herein.

       40. Plaintiff is a member of a protected class under the FCRA.

       41. By the conduct describe above, Defendant has engaged in discrimination against Plaintiff

    because of Plaintiff's disability and subjected the Plaintiff to disability-based animosity.

       42. Such discrimination was based upon the Plaintiff's disability in that Plaintiff would not

    have been the object of discrimination but for the fact that Plaintiffs mother is disabled.

        43. Defendant's conduct complained of herein was willful and in disregard of Plaintiffs

    protected rights. Defendant and its supervisory personnel were aware that discrimination on the

    basis of Plaintiff's disability was unlawful but acted in reckless disregard of the law.
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          44. At all times material hereto, the employees exhibiting discriminatory conduct towards

       Plaintiff possessed the authority to affect the terms, conditions, and privileges of Plaintiffs

       employment with the Defendant.

          45. Defendant retained all employees who exhibited discriminatory conduct toward the

       Plaintiff and did so despite the knowledge of said employees engaging in discriminatory actions.

           46. As a result of Defendant's actions, as alleged herein, Plaintiff has been deprived of rights,

       has been exposed to ridicule and embarrassment, and has suffered emotional distress and

       damage.

           47. The conduct of Defendant, by and through the conduct of its agents, employees, and/or

       representatives, and the Defendant's failure to make prompt remedial action to prevent continued

       discrimination against the Plaintiff, deprived the Plaintiff of statutory rights under state and/or

        federal law.

           48. The actions of the Defendant and/or its agents were willful, wanton, and intentional, and

        with malice or reckless indifference to the Plaintiffs statutorily protected rights, thus entitling

        Plaintiff to damages in the form of compensatory and punitive damages pursuant to state and/or

        federal law, to punish the Defendant for its actions and to deter it, and others, from such action in

        the future.

            49. Plaintiff has suffered and will continue to suffer both irreparable injury and compensable

        damages as a result of Defendant's discriminatory practices unless and until this Honorable

        Court grants relief.

        WHEREFORE, Plaintiff respectfully prays for the following relief against Defendant:

                 A. Adjudge and decree that Defendant has violated the FCRA, and has done so willfully,

                       intentionally, and with reckless disregard for Plaintiffs rights;




---   _________              .   ~
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          B. Enter a judgment requiring that Defendant pay Plaintiff appropriate back pay,

              benefits' adjustment, and prejudgment interest at amounts to be proved at trial for the

              unlawful employment practices described herein;

          C. Enter an award against Defendant and award Plaintiff compensatory damages for

              mental anguish, personal suffering, and loss of enjoyment of life;

           D. Require Defendant to reinstate Plaintiff to the position at the rate of pay and with the

               full benefits Plaintiff would have had Plaintiff not been discriminated against by

               Defendant, or in lieu of reinstatement, award front pay;

           E. Award Plaintiff the costs of this action, together with a reasonable attorneys' fees;

               and

           F. Grant Plaintiff such additional relief as the Court deems just and proper under the

               circumstances.

                                           COUNT III
                                   Retaliation in violation of tlte FCRA

       50. Plaintiff re-adopts each and every factual allegation as stated in paragraphs 1-27 of this

    complaint as if set out in full herein.

        51. Plamtiff is a member of a protected class under the FCRA

        52. By the conduct describe above, Defendant retaliated against Plaintiff for exercising rights

    protected under the FCRA.

        53. Defendant's conduct complained of herein was willful and in disregard of Plaintiff's

    protected rights. Defendant and its supervisory personnel were aware that discrimination on the

    basis of Plaintiff's disability was unlawful but acted in reckless disregard of the law.

        54. As a result of Defendant's actions, as alleged herein, Plaintiff has been deprived of rights,

    has been exposed to ridicule and embarrassment, and has suffered emotional distress and
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   damage.

      55. The conduct of Defendant, by and through the conduct of its agents, employees, andfor

   representatives, and the Defendant's failure to make prompt remedial action to prevent continued

   discrimination against the Plaintiff, deprived the Plaintiff of statutory rights under state and/or

   federal law.

       56. The actions of the Defendant andfor its agents were willful, wanton, and intentional, and

   with malice or reckless indifference to the Plaintiffs statutorily protected rights, thus entitling

   Plaintiff to dan1ages in the form of compensatory and punitive damages pursuant to state and/or

   federal law, to punish the Defendant for its actions and to deter it, and others, from such action in

   the future.

       57. Plaintiff has suffered and will continue to suffer both irreparable injury and compensable

    damages as a result of Defendant's discriminatory practices unless and until this Honorable

    Court grants relief.

    WHEREFORE, Plaintiff respectfully prays for the following relief against Defendant:

             A. Adjudge and decree that Defendant has violated the FCRA, and has done so willfully,

                  intentionally, and with reckless disregard for Plaintiff's rights;

             B. Enter a judgment requiring that Defendant pay Plaintiff appropriate back pay,

                  benefits' adjustment, and prejudgment interest at amounts to be proved at trial for the

                  unlawful employment practices described herein;

             C. Enter an award against Defendant and award Plaintiff compensatory damages for

                  mental anguish, personal suffering, and loss of ~njoyment of life;

             D. Require Defendant to reinstate Plaintiff to the position at the rate of pay and with the

                  full benefits Plaintiff would have had Plaintiff not been discriminated against by
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               Defendant, or in lieu of reinstatement, award front pay;

           E. Award Plaintiff the costs of this action, together with a reasonable attorneys' fees;

               and

           F. Grant Plaintiff such additional relief as the Couii deems just and proper under the

                circumstances.

                                                   COUNT IV
                                    Intelference with Rights Under The FMLA

        58. Plaintiff re"adopts each and every factual allegation as stated in paragraphs 1"27 above as

    if set out in full herein.

        59. Plaintiff is an individual entitled to protection under the FMLA.

        60. Plaintiff is an employee within the meaning of the FMLA.

        61. Plaintiff engaged in protected activity within the meaning of the FMLA.

        62. Defendant's actions interfered with Plaintiffs lawful exercise ofFMLA rights.

        63. Defendant's actions constitute violations of the FMLA.

        64. As a result of Defendant's unlawful conduct, Plaintiff has suffered and continues to suffer

    damages.

             WHEREFORE, Plaintiff respectfully prays for the following relief against Defendant:

             A. Adjudge and decree that Defendant has violated the FMLA and has done so willfully,

                 intentionally and with reckless disregard for Plaintiff's rights;

             B. Enter a judgment requiring that Defendant pay Plaintiff appropriate back pay, front

                 pay, benefits' adjustment, and prejudgment interest at amounts to be proved at trial for

                  the unlawful employment practices described herein;

             C. Enter an award against Defendant and award Plaintiff compensatory damages for

                  mental anguish, personal suffering, and loss of enjoyment of life;
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         D. Require Defendant to reinstate Plaintiff to her position at the rate of pay and with the

               full benefits she would have, had she not been discriminated against by Defendant, or

               in lieu of reinstatement, award her front pay;

          E. Award Plaintiff the costs of this action, together with a reasonable attorneys' fees;

               and

          F. Grant Plaintiff such additional relief as the Court deems just and proper under the

               circumstances.

                                                    COUNTV
                                         Retaliation Under the FMI.A

      65. Plaintiff re-adopts each and every factual allegation as stated in paragraphs 1 through 25

   above as if set out in full herein.

       66. Plaintiff is an individual entitled to protection under the FMLA.

       67. Plaintiff is an employee within the meaning of the FMLA.

       68. Plaintiff engaged in protected activity within the meaning of the FMLA.

       69. Defendant retaliated against Plaintiff for exercising rights protected under the FMLA.

       70. Defendant's actions constitute a violation of the FMLA.

       71. As a result of Defendant's unlawful conduct, Plaintiff has suffered and continues to suffer

    damages.

    WHEREFORE, Plaintiff respectfully prays for the following relief against Defendant:

           A. Adjudge and decree that Defendant has violated the FMLA and has done so willfully,

                intentionally and with reckless disregard for Plaintiffs rights;

           B. Enter a judgment requiring that Defendant pay Plaintiff appropriate back pay, front

                pay, benefits' adjustment, and prejudgment interest at amounts to be proved at trial for

                the unlawful employment practices described herein;




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            C. Enter an award against Defendant and award Plaintiff compensatory damages for

               mental anguish, personal suffering, and loss of enjoyment of life;

            D. Award Plaintiff the costs of this action, together vvith a reasonable attorneys' fees;

               and

            E. Grant Plaintiff such additional relief as the Court deems just and proper under the

               circumstances.

                                             JURY DEMAND

                   Plaintiff demands trial by jury of all issues triable as of right by jmy.



    Dated        g/21/10
            --~-~'----




                                                           Anthony M. Ge rges-Pierre, Esq.
                                                           Florida Bar No. 33637

                                                           REMER & GEORGES-PIERRE, PLLC
                                                           44 West Flagler St., Suite 2200
                                                           Miami, FL 33130
                                                           Telephone: 305-416-5000
                                                           Facsimile: 305-416-5005
                                                           agp@rgpattomeys.com
